 Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 1 of 18 Page ID #:305



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8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10
                                           Case No.: LA CV 22-02344-MEMF(GJSx)
11   Jane Doe,

12                         Plaintiff,      CIVIL TRIAL ORDER

13                  v.

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15   Joseph Diaz Jr.,
                           Defendant.
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28   cc: ADR Dept.


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 Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 2 of 18 Page ID #:306



1        I.      Schedule
2             A. Scheduling Order
3             The Scheduling Order governing this action is set forth in the Schedule of Pretrial and Trial
4    Dates chart below. The box in the upper right-hand corner of the chart states whether the trial will
5    be by jury or court. If the parties1 seek to set additional dates, they may file a Stipulation and
6    Proposed Order. This may be appropriate in class actions, patent cases, or cases for benefits under
7    the Employee Retirement Income Security Act of 1974 (“ERISA”).
8             The parties should refer to the Court’s Standing Order for requirements regarding specific
9    motions, discovery, certain types of filings, courtesy copies, emailing signature items to Chambers,
10   alternative dispute resolution, and other matters pertaining to all cases. A copy of the Court’s
11   Standing Order is available on Judge Frimpong’s webpage at
12   https://www.cacd.uscourts.gov/honorable-maame-ewusi-mensah-frimpong. Both the Court and all
13   counsel bear responsibility for the progress of litigation in this Court.
14            “Counsel,” as used in this Order, includes parties appearing pro se.2
15            All emailed submissions to Chambers referred to in this Order must be in Word format
16   and emailed to MEMF Chambers@cacd.uscourts.gov.
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       The term “parties” includes unrepresented parties—that is parties without attorneys, also referred to as “pro
27   se litigants”—as well as counsel for represented parties.
     2
       This Court does not exempt pro se litigants from compliance with the Federal Rules of Civil Procedure, the
28   applicable Local Civil Rules of the Central District of California (“Local Civil Rules”), and this court’s
     standing orders and online procedures and schedules. See Local Rules 1-3 and 83-2.2.3.


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Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 3 of 18 Page ID #:307
 Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 4 of 18 Page ID #:308



1            B. Final Pretrial Conference/Proposed Final Pretrial Conference Order
2        The Court has set a Final Pretrial Conference (“FPTC”) pursuant to Federal Rule of Civil
3    Procedure 16 and Local Rule 16-8. The Court requires strict compliance with Federal Rules of Civil
4    Procedure 16 and 26, and Local Rule 16. Each party appearing in this action must be represented at
5    the FPTC by lead trial counsel.2 The parties must be prepared to discuss streamlining the trial,
6    including presentation of testimony by deposition excerpts or summaries, time limits, stipulations to
7    undisputed facts, and qualification of experts by admitted resumes.
8        A proposed Final Pretrial Conference Order (“Proposed FPTCO”) shall be filed and emailed to
9    Chambers at least fourteen (14) days before the FPTC. A template for the Proposed FPTCO is
10   available on Judge Frimpong’s webpage. The parties must use this template.
11       In specifying the surviving pleadings under section 1, the parties are to state which claims or
12   counterclaims have been dismissed or abandoned (e.g., “Plaintiff’s second cause of action for
13   breach of fiduciary duty has been dismissed.”). Additionally, in multiple-party cases where not all
14   claims or counterclaims will be prosecuted against all remaining parties on the opposing side, the
15   parties are to specify to which party or parties each claim or counterclaim is directed.
16       The parties must attempt to agree on and set forth as many uncontested facts as possible. The
17   Court will read the uncontested facts to the jury at the start of trial. A carefully drafted and
18   comprehensively stated stipulation of facts will shorten the trial and generally increase jury
19   understanding of the case.
20       In drafting the factual issues in dispute, the parties must state issues in ultimate fact form, not in
21   the form of evidentiary fact issues. The issues of fact should track the elements of a claim or
22   defense on which the jury will be required to make findings.
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           The Court has a strong commitment to fostering the development of new and diverse lawyers in the
26   legal community. Consequently, the Court strongly encourages litigants to provide opportunities for less
     experienced lawyers or lawyers whose identities and/or backgrounds further the diversity of the legal
27   profession to participate in trial and in the FPTC, particularly where they contributed significantly to the
     underlying issue or prepared the witness. Of course, the ultimate decision of who speaks on behalf of the
28   client is for the client and not the Court.



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 Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 5 of 18 Page ID #:309



1        Issues of law should state legal issues on which the Court will be required to rule during the trial
2    and should not list ultimate fact issues to be submitted to the trier of fact.
3      II.      Trial Preparation
4        The parties must comply with Local Rule 16. Pursuant to Local Rule 16-2, lead trial counsel for
5    each party are required to meet and confer in person forty (40) days in advance to prepare for the
6    FPTC. The parties must comply with Local Rule 16-2, except where the requirements set forth in
7    this Order differ from or supplement those contained in Local Rule 16. The Court may take the
8    FPTC and trial off calendar or impose other sanctions for failure to comply with these requirements.
9            A. Schedule for Filing Pretrial Documents
10       The schedule for filing pretrial documents is as follows:
11                At least twenty-eight (28) days before the FPTC:
12                    o Motions in Limine
13                    o Memoranda of Contentions of Fact and Law
14                    o Witness list
15                    o Joint Exhibit list
16                    o Joint Status Report Regarding Settlement
17                    o Proposed Findings of Fact and Conclusions of Law (bench trial only)
18                    o Declarations containing Direct Testimony (bench trial only)
19                At least fourteen (14) days before the FPTC:
20                    o Oppositions to Motions in Limine
21                    o Joint Proposed FPTCO
22                    o Joint Agreed Upon Proposed Jury Instructions (jury trial only)
23                    o Disputed Proposed Jury Instructions (jury trial only)
24                    o Joint Proposed Verdict Forms (jury trial only)
25                    o Joint Proposed Statement of the Case (jury trial only)
26                    o Proposed Voir Dire Questions, if any (jury trial only)
27                    o Evidentiary Objections to Declarations of Direct Testimony (bench trial only)
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 Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 6 of 18 Page ID #:310



1          All pretrial documents listed above, including any amended documents, shall be filed and
2    emailed to Chambers the day they are due.
3          B. Requirements for Pretrial Documents
4                          1. Motions in Limine
5          Motions in limine will be heard and ruled on at the FPTC. The Court may rule orally instead of
6    in writing. All motions in limine shall be filed and emailed to Chambers at least twenty-eight (28)
7    days before the FPTC. Oppositions shall be filed and emailed to Chambers at least fourteen (14)
8    days before the FPTC. There shall be no replies. Motions in limine and oppositions must not exceed
9    ten (10) pages in length.
10         Before filing a motion in limine, the parties must meet and confer to determine whether the
11   opposing party intends to introduce the disputed evidence and attempt to reach an agreement that
12   would obviate the need for the motion. Motions in limine should address specific issues (e.g., not
13   “to exclude all hearsay”). Motions in limine should not be disguised motions for summary
14   adjudication of issues. The Court may strike excessive or unvetted motions in limine.
15                         2. Witness Lists
16         Witness lists shall be filed and emailed to Chambers twenty-eight (28) days before the FPTC.
17   They must be in the format specified in Local Rule 16-5 and must include for each witness (1) a
18   brief description of the testimony; (2) the reasons the testimony is unique and not redundant; and
19   (3) a time estimate in hours for direct and cross-examination. The parties must use the template
20   posted to Judge Frimpong’s webpage. Any Amended Witness List must be filed and emailed to
21   Chambers by 12:00 p.m. (noon) on the Friday before trial.
22                         3. Joint Exhibit List
23         The Joint Exhibit List shall be filed and emailed to Chambers twenty-eight (28) days before the
24   FPTC. It must be in the format specified in Local Rule 16-6 and shall include an additional column
25   stating any objections to authenticity and/or admissibility and the reasons for the objections. The
26   parties must use the template posted to Judge Frimpong’s webpage. Any Amended Joint Exhibit
27   List shall be filed and emailed to Chambers by 12:00 p.m. (noon) on the Friday before trial.
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 Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 7 of 18 Page ID #:311



1                          4. Jury Instructions (Jury Trials Only)
2        Joint Proposed Jury Instructions shall be filed and emailed to Chambers no later than fourteen
3    (14) days prior to the FPTC. The parties must make every effort to agree upon jury instructions
4    before submitting proposals to the Court. The Court expects the parties to agree on the substantial
5    majority of instructions, particularly when pattern or model jury instructions exist and provide a
6    statement of applicable law. The parties shall meet and confer regarding jury instructions according
7    to the following schedule:
8              Thirty-five (35) days before the FPTC: The parties shall exchange proposed general and
9               special jury instructions.
10             Twenty-eight (28) days before the FPTC: The parties shall exchange any objections to
11              the instructions.
12             Twenty-one (21) days before the FPTC: The parties shall meet and confer with the goal
13              of reaching agreement on one set of Joint Proposed Jury Instructions.
14             Fourteen (14) days before FPTC: The parties shall file and email to Chambers: (1) their
15              Joint Agreed Upon Proposed Jury Instructions and (2) their Disputed Jury Instructions.
16       The parties shall file and email to Chambers clean and redline sets of: (1) their Joint Agreed
17   Upon Proposed Jury Instructions; and (2) their Disputed Jury Instructions. The redline sets shall
18   include all modifications made by the parties to pattern or model jury instructions, any disputed
19   language, and the factual or legal basis for each party’s position as to each disputed instruction.
20   Where appropriate, the disputed instructions shall be organized by subject, so that instructions that
21   address the same or similar issues are presented sequentially. If there are excessive or frivolous
22   disagreements over jury instructions, the Court will order the parties to meet and confer
23   immediately until they substantially narrow their disagreements.
24                  Sources: When the Manual of Model Jury Instructions for the Ninth Circuit3
25   provides an applicable jury instruction, the parties should submit the most recent version, modified
26   and supplemented to fit the circumstances of the case. Where California law applies, the parties
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     3
28    The Manual of Model Jury Instructions for the Ninth Circuit may be found on the Ninth Circuit’s website at
     https://www.ce9.uscourts.gov/jury-instructions/model-civil.


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 Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 8 of 18 Page ID #:312



1    should use the current edition of the Judicial Council of California Civil Jury Instructions4
2    (“CACI”). If neither applies, the parties should consult the current edition of O’Malley, et al.,
3    Federal Jury Practice and Instructions. The parties may submit alternatives to these instructions
4    only if there is a reasoned argument that they do not properly state the law or are incomplete. The
5    Court seldom gives instructions derived solely from case law.
6                       Format: Each requested instruction shall: (1) cite the authority or source of the
7    instruction; (2) be set forth in full; (3) be on a separate page; (4) be numbered; (5) cover only one
8    subject or principle of law; and (6) not repeat principles of law contained in any other requested
9    instruction. If a standard instruction has blanks or offers options (e.g., for gender5), the parties must
10   fill in the blanks or make the appropriate selections in their proposed instructions.
11                      Index: All proposed jury instructions must have an index that includes the following
12   for each instruction, as illustrated in the example below:
13                     the number of the instruction;
14                     the title of the instruction;
15                     the source of the instruction and any relevant case citations; and
16                     the page number of the instruction.
17   Example:
18
19       Instruction
20       Number                     Title                        Source                    Page Number
                                    Trademark-Defined
21       1                          (15.U.S.C. § 1127)           9th Cir. 8.5.1            1
22
23           Counsel also shall list the instructions in the order they will be given and indicate whether the
24   instruction shall be read before opening statements, during trial, or before closing arguments.
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27     The CACI may be found on the California Court website at https://www.courts.ca.gov/partners/317.htm.
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       Per the Court’s Standing Order, litigants and counsel may indicate their honorifics by filing a letter, adding
28   the information in the name block or signature line of the pleadings, or verbally informing the Court when
     making an appearance.


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 Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 9 of 18 Page ID #:313



1       During the trial and before closing argument, the Court will meet with the parties to settle the
2    instructions. At that time, the parties will have an opportunity to make an oral record concerning
3    their objections. Each member of the jury will be given their own copy of the instructions during
4    deliberations.
5                            5. Joint Verdict Forms (Jury Trials Only)
6       The parties shall make every effort to agree on a general or special verdict form before
7    submitting proposals to the Court. The parties shall file and email to Chambers a proposed joint
8    general or special verdict form fourteen (14) days before the FPTC. If the parties are unable to
9    agree on a verdict form, the parties shall file and email to Chambers one document titled
10   “Competing Verdict Forms” which shall include: (1) the parties’ respective proposed verdict form;
11   (2) a redline of any disputed language; and (3) the factual or legal basis for each party’s respective
12   position. The Court may opt to use a general verdict form if the parties are unable to agree on a
13   special verdict form.
14                           6. Joint Statement of the Case (Jury Trials Only)
15          The parties shall file and email to Chambers a Joint Statement of the Case fourteen (14)
16   days before the FPTC for the Court to read to the prospective jurors before commencement of voir
17   dire. The joint statement should be brief and neutral and must not be more than one page in length.
18                           7. Proposed Voir Dire Questions (Jury Trials Only)
19      The Court will conduct the voir dire. Generally, a jury in a civil action will consist of eight (8)
20   jurors. In most cases, the Court will question all prospective jurors in the jury panel. The Court asks
21   prospective jurors basic biographical questions (jurors’ place of residence, employment, whether
22   familiar with the parties or counsel, etc.) as well as questions going to their ability to be fair and
23   impartial and carry out the duties required and may ask additional case-specific questions. The
24   parties may file and email to Chambers any proposed case-specific voir dire questions for the
25   Court’s consideration no later than fourteen (14) days before the FPTC. If it considers the questions
26   proper, the Court will pose the questions to the prospective jurors.
27      Each side has three (3) peremptory challenges. All challenges for cause and all Batson
28   challenges shall be made at side bar or otherwise outside the prospective jurors’ presence. The


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Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 10 of 18 Page ID #:314



1    Court will not necessarily accept a stipulation to a challenge for cause. After all challenges have
2    been exercised, the remaining jurors in the eight (8) lowest numbered seats will be the jury.
3                          8. Proposed Findings of Fact and Conclusions of Law (Bench Trials
4                              Only)
5        For any trial requiring findings of fact and conclusions of law, each party shall file and email to
6    Chambers its Proposed Findings of Fact and Conclusions of Law in the format specified in Local
7    Rule 52-3 no later than twenty-eight (28) days before the FPTC.
8        The parties may file and email to Chambers Supplemental Proposed Findings of Fact and
9    Conclusions of Law during the trial. Once trial concludes, the Court may order the parties to file
10   and email to Chambers Revised Proposed Findings of Fact and Conclusions of Law.
11                         9. Declarations of Direct Testimony (Bench Trials Only)
12       When ordered by the Court in a particular case, each party shall file and email to Chambers
13   declarations containing the direct testimony of each witness whom that party intends to call at trial
14   at least twenty-eight (28) days before the FPTC. If such declarations are filed, each party shall file
15   and email to Chambers any evidentiary objections to the declarations submitted by any other party
16   at least fourteen (14) days before the FPTC. Such objections shall be submitted in the following
17   three-column format: (1) the left column should contain a verbatim quote of each statement
18   objected to (including page and line number); (2) the middle column should set forth a concise legal
19   objection (e.g., hearsay, lacks foundation, etc.) with a citation to the corresponding Federal Rule of
20   Evidence or, where applicable, a case citation; and (3) the right column should provide space for the
21   Court’s ruling on the objection. The Court anticipates issuing its ruling on the objections during the
22   FPTC.
23    III.   Trial Exhibits
24       Trial exhibits that consist of documents and photographs must be submitted to the Court in
25   three-ring binders. The parties shall submit to the Court three (3) sets of binders: one (1) original set
26   of trial exhibits, and two (2) copies of trial exhibits. The original set of exhibits shall be for use by
27   the jury during its deliberations, and the copies are for the Court. The parties must prepare
28   additional copies of exhibits for their own use and for use by witnesses. The parties must review the


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Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 11 of 18 Page ID #:315



1    exhibit list and exhibit binders with the Courtroom Deputy Clerk before the admitted exhibits will
2    be given to the jury.
3       All exhibits placed in three-ring binders must be indexed by exhibit number with tabs or
4    dividers on the right side. Exhibits shall be numbered sequentially 1, 2, 3, etc., not 1.1, 1.2, etc. See
5    Local Rule 16-6. Every page of a multi-page exhibit must be numbered. Defendant’s exhibit
6    numbers shall not duplicate Plaintiff’s numbers. The spine of each binder shall indicate the volume
7    number and the range of exhibit numbers included in the volume.
8              The original exhibits shall bear the official exhibit tags (yellow tags for Plaintiff’s
9               exhibits and blue tags for Defendant’s exhibits) affixed to the front upper right-hand
10              corner of the exhibit, with the case number, case name, and exhibit number stated on
11              each tag. Tags may be obtained from the Clerk’s Office, or the parties may print their
12              own exhibit tags using Forms G-14A and G-14B on the “Court Forms” section of the
13              Central District of California’s website.
14             The copies of exhibits must bear copies of the official exhibit tags that were placed on
15              the original exhibits and be indexed with tabs or dividers on the right side.
16      In addition to the three (3) sets of binders above, the parties must also submit to the Court a
17   USB flash drive containing .pdf versions of all exhibits. The USB flash drive must be delivered to
18   the judge’s courtesy box located outside the Clerk’s Office on the 4th floor of the courthouse by
19   12:00 p.m. on Friday, three (3) days before the start of trial. Plaintiff’s exhibits must be placed in a
20   separate folder from Defendant’s exhibits, and the document file names must include the exhibit
21   number and a brief description of the document (e.g., “Ex. 1 – Smith Declaration.pdf” or “Ex. 105 –
22   Letter Dated 1-5-20.pdf”).
23      The Court provides audio/visual equipment for use during trial. The parties are encouraged to
24   use it. More information is available at: http://www.cacd.uscourts.gov/clerk-services/courtroom-
25   technology. The Court does not permit exhibits to be “published” to the jurors before they are
26   admitted into evidence. Once admitted, exhibits may be displayed electronically using the
27   equipment and screens in the courtroom.
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Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 12 of 18 Page ID #:316



1          If electronic equipment must be brought into the courtroom for trial, counsel shall make prior
2    arrangements with the Court Security. Notice must be given to the Courtroom Deputy Clerk at
3    MEMF_Chambers@cacd.uscourts.gov no later than four (4) days before trial.
4          The parties must meet and confer no later than ten (10) days before trial to stipulate as much as
5    possible to foundation, waiver of the best evidence rule, and exhibits that may be received into
6    evidence at the start of the trial. All such exhibits should be noted as admitted on the Court and
7    Courtroom Deputy Clerk’s copy of the exhibit list.
8        IV.     Materials to Present on First Day of Trial
9          The parties must present the following materials to the Courtroom Deputy Clerk on the first day
10   of trial:
11               1. The three sets of binders described above, with one (1) original set of trial exhibits for
12                  the jury, and two (2) copies of trial exhibits for the Court.
13               2. Any excerpts of deposition transcripts to be used at trial, either as evidence or for
14                  impeachment. These lodged depositions are for the Court’s use. The parties must use
15                  their own copies during trial.
16       V.      Court Reporter
17         Any party requesting special court reporter services for any hearing, such as “Real Time”
18   transmission or daily transcripts, shall notify Court Reporting Services at least fourteen (14) days
19   before the hearing date.6
20       VI.     Daily Schedule for Jury Trials
21         On the first day of trial, Court will commence at 8:30 a.m. and conclude at approximately 5:00
22   p.m., with a one-hour lunch break and two fifteen-minute breaks. The parties must appear at 8:30
23   a.m. to discuss preliminary matters with the Court. The Court will call a jury panel only when it is
24   satisfied the case is ready for trial. Jury selection usually takes only a few hours. The parties should
25   be prepared to proceed with opening statements and witness examination immediately after jury
26   selection.
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28    Additional information regarding Court Reporting Services may be found on the Central District of
     California website at http://www.cacd.uscourts.gov/court-reporting-services.


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Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 13 of 18 Page ID #:317



1       Thursdays are usually reserved for the Court’s calendar. As a result, trial will not be held on
2    Thursdays unless the jury is deliberating or the Court’s calendar allows trial to proceed. Therefore,
3    trial days are generally Monday through Wednesday, and on Friday. Trial days are from 8:30 a.m.
4    to approximately 5:00 p.m., with two 15-minute breaks and a one-hour lunch break.
5    VII.    Conduct of Attorneys and Parties
6        A. Meeting and Conferring Throughout Trial
7       The parties must continue to meet and confer on all issues that arise during trial. The Court will
8    not rule on any such issue unless the parties have attempted to resolve it first.
9        B. Opening Statements, Witness Examinations, and Summation
10       Counsel must use the lectern. Counsel should not consume jury time by writing out words and
11   drawing charts or diagrams. All such aids must be prepared in advance. When appropriate, the Court
12   will establish and enforce time limits for all phases of trial, including opening statements, closing
13   arguments, and the examination of witnesses.
14       C. Objections to Questions
15      Counsel must not make speaking objections before the jury or otherwise make speeches, restate
16   testimony, or attempt to guide a witness.
17      When objecting, counsel must rise to state the objection and state only that counsel objects and
18   the legal grounds for the objection. If counsel wishes to argue an objection further, counsel must
19   seek permission from the Court to do so.
20       D. Closing Arguments and Post-Trial Briefs (Bench Trials Only)
21      For an overview and review of the evidence presented during trial, the Court will rely on the
22   parties’ closing arguments. In delivering closing arguments, the parties shall use their respective
23   proposed findings of fact and conclusions of law as a “checklist” and should identify the evidence
24   that supports their proposed findings. The Court will not accept post-trial briefs unless it finds that
25   circumstances warrant additional briefing and such briefing is specifically authorized.
26       E. General Decorum While in Session
27          1. Counsel must not approach the Courtroom Deputy Clerk, the jury box, or the witness
28              stand without court authorization and must return to the lectern when the purpose for the


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Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 14 of 18 Page ID #:318



1                approach has been accomplished.
2            2. Counsel must rise when addressing the Court, and when the Court or the jury enters or
3                leaves the courtroom, unless directed otherwise.7
4            3. Counsel must address all remarks to the Court. Counsel must not address the Courtroom
5                Deputy Clerk, the court reporter, persons in the audience, or opposing counsel. Any
6                request to re-read questions or answers shall be addressed to the Court. Counsel must
7                ask the Court’s permission to speak with opposing counsel.
8            4. Counsel must not address or refer to witnesses or parties by first names alone, except for
9                witnesses who are below age fourteen (14).
10           5. Counsel must not offer a stipulation unless counsel have conferred with opposing
11               counsel and have verified that the stipulation will be acceptable.
12           6. Counsel must not leave counsel table to confer with any person in the back of the
13               courtroom without the Court’s permission.
14           7. Counsel must not make facial expressions, nod, shake their heads, comment, or
15               otherwise exhibit in any way any agreement, disagreement, or other opinion or belief
16               concerning the testimony of a witness or argument by opposing counsel. Counsel shall
17               instruct their clients and witnesses not to engage in such conduct.
18           8. Counsel must never speak to jurors under any circumstance, and must not speak to co-
19               counsel, opposing counsel, witnesses, or clients if the conversation can be overheard by
20               jurors. Counsel must instruct their clients and witnesses to avoid such conduct.
21           9. Where a party has more than one lawyer, only one attorney may conduct the direct or
22               cross-examination of a particular witness or make objections as to that witness.
23           10. Bottled water is permitted in the courtroom. Food and other beverages are not permitted.
24               Cell phones must be silenced or may be confiscated.
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26   ///
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28    In the event that a disability prevents a party from doing so, the party is advised to inform the Court in
     advance.


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Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 15 of 18 Page ID #:319



1      F. Punctuality
2         1. The Court expects the parties, counsel, and witnesses to be punctual. Once the parties
3            and their counsel are engaged in trial, the trial must be their priority. The Court will not
4            delay progress of the trial or inconvenience jurors.
5         2. If a witness was on the stand at the time of a recess or adjournment, the party that called
6            the witness shall ensure the witness is back on the stand and ready to proceed as soon as
7            trial resumes.
8         3. The parties must notify the Courtroom Deputy Clerk in advance if any party, counsel, or
9            witness requires a reasonable accommodation based on a disability or other reason.
10        4. No presenting party may be without witnesses. If a party’s remaining witnesses are not
11           immediately available, thereby causing an unreasonable delay, the Court may deem that
12           party to have rested.
13        5. The Court generally will accommodate witnesses by permitting them to be called out of
14           sequence. Counsel should meet and confer in advance and make every effort to resolve
15           the matter.
16     G. Exhibits
17        1. Counsel must keep track of their exhibits and exhibit list, and record when each exhibit
18           has been admitted into evidence.
19        2. Counsel are responsible for any exhibits they secure from the Courtroom Deputy Clerk
20           and must return them before leaving the courtroom.
21        3. Any exhibit not previously marked must be accompanied by a request that it be marked
22           for identification at the time of its first mention. Counsel must show a new exhibit to
23           opposing counsel before the court session in which it is mentioned.
24        4. Counsel must inform the Courtroom Deputy Clerk of any agreements reached regarding
25           any proposed exhibits, as well as those exhibits that may be received into evidence
26           without a motion to admit.
27        5. When referring to an exhibit, counsel must refer to its exhibit number. Counsel should
28           instruct their witnesses to do the same.


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Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 16 of 18 Page ID #:320



1            6. Counsel should not ask witnesses to draw charts or diagrams or ask the Court’s
2               permission for a witness to do so. All demonstrative aids must be prepared fully in
3               advance of the day’s trial session.
4            7. Counsel are required to seek to admit any items of evidence whose admissibility has not
5               yet been stipulated to while the witness authenticating the exhibit is on the stand, so that
6               any issues or concerns that arise may be addressed immediately.
7          H. Depositions
8            1. In using deposition testimony of an adverse party for impeachment, counsel may adhere
9               to either one of the following procedures:
10                  a. If counsel wishes to read the questions and answers as alleged impeachment and
11                      ask the witness no further questions on that subject, counsel shall first state the
12                      page and line where the reading begins and the page and line where the reading
13                      ends and allow time for any objection. Counsel may then read the portions of the
14                      deposition into the record.
15                  b. If counsel wishes to ask the witness further questions on the subject matter, the
16                      deposition shall be placed in front of the witness and the witness told to read the
17                      relevant pages and lines silently. Then, counsel either may ask the witness
18                      further questions on the matter and thereafter read the quotations or read the
19                      quotations and thereafter ask further questions. Counsel should have available
20                      for the Court and the witness extra copies of the deposition transcript for this
21                      purpose.
22           2. Where a witness is absent and the witness’s testimony is to be offered by deposition,
23              counsel may: (1) have an individual sit on the witness stand and read the testimony of
24              the witness while the examining lawyer asks the questions; or (2) have counsel read both
25              the questions and the answers.
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Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 17 of 18 Page ID #:321



1          I. Using Numerous Answers to Interrogatories and Requests for Admission
2          Whenever counsel expects to offer a group of answers to interrogatories or requests for
3    admissions extracted from one or more lengthy discovery responses, counsel should prepare a new
4    document listing each question and answer and identifying the document from which it has been
5    extracted. Copies of this new document must be provided to the Court and the opposing party.
6          J. Advance Notice of Unusual or Difficult Issues
7          If any party anticipates that a difficult question of law or evidence will necessitate legal
8    argument requiring research or briefing, that party must give the Court advance notice. The parties
9    must notify the Courtroom Deputy Clerk immediately of any unexpected legal issue that could not
10   have been foreseen and addressed in advance. To the extent such issue needs to be addressed
11   outside the jury’s presence, the relevant party must inform the Courtroom Deputy Clerk before
12   jurors are excused for the day to minimize the time jurors are kept waiting. The Court expects all
13   parties to work diligently to minimize delays and avoid keeping jurors waiting.
14         K. Continuances of Pretrial and Trial Dates
15         The Court has a strong interest in keeping scheduled dates certain. Accordingly, pretrial and
16   trial dates set by the Court are firm, and rarely will be changed. Any request for continuance of
17   pretrial and/or trial dates must be by motion, stipulation, or application, and must be supported by a
18   declaration setting forth the reasons for the requested relief. The declaration must contain a highly
19   detailed factual showing of good cause and due diligence demonstrating the necessity for the
20   continuance and a description of the parties’ efforts, dating back to the filing of the complaint, of
21   the steps they have taken to advance the litigation. This detailed showing must demonstrate that the
22   work still to be performed reasonably could not have been accomplished within the applicable
23   deadlines. General statements are insufficient to establish good cause. The declaration should also
24   include whether any previous requests for continuances have been made and whether these requests
25   were granted or denied by the Court.
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Case 2:22-cv-02344-MEMF-GJS Document 59 Filed 05/22/23 Page 18 of 18 Page ID #:322



1       Stipulations extending dates set by the Court are not effective unless approved by the Court, and
2    without compelling factual support and a showing of due diligence, stipulations continuing dates set
3    by the Court will be denied.
4           IT IS SO ORDERED.
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6     Dated: May 22, 2023                        ___________________________________
7                                                MAAME EWUSI-MENSAH FRIMPONG
8                                                          United States District Judge
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